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                             UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                                     CRIMINAL MINUTE SHEET
USA v.       PABLO RAZO FIERRO                                                             Mag. Judge: Phillip J. Green

    CASE NUMBER                      DATE                 TIME (begin/end)                 PLACE                  INTERPRETER


    1:12-cr-98 (RHB)             June 30, 2015                 4:03 - 4:15 PM           Grand Rapids      Mauricio Fernandez de Cordova


APPEARANCES:
Government:                                              Defendant:                                        Counsel Designation:
Clay Stiffler for Nils Kessler                           Appeared w/out counsel (court to appoint)


          OFFENSE LEVEL                                CHARGING DOCUMENT/COUNTS                               CHARGING DOCUMENT
                                                                                                            Read
Felony                                       Indictment, Count(s) 1-2                                       Reading Waived

             TYPE OF HEARING                                       DOCUMENTS                                 CHANGE OF PLEA

✔   First Appearance                                  Defendant's Rights                           Guilty Plea to Count(s)
    Arraignment:                                      Waiver of                                    of the
          mute              nolo contendre            Consent to Mag. Judge for
                            guilty                                                                 Count(s) to be dismissed at sentencing:
          not guilty
                                                      Other:
    Initial Pretrial Conference
                                                                                                   Presentence Report:
    Detention          (waived   )                                                                        Ordered      Waived
    Preliminary    (waived       )                Court to Issue:                                      Plea Accepted by the Court
    Rule 5 Proceeding                                Report & Recommendation
                                                                                                       No Written Plea Agreement
    Revocation/SRV/PV                                Order of Detention
                                                     Order to file IPTC Statements
    Bond Violation                                                                                       EXPEDITED RESOLUTION
                                                     Bindover Order
    Change of Plea                                ✔ Order Appointing Counsel
                                                                                                       Case appears appropriate for
    Sentencing                                       Other:                                            expedited resolution
    Other:

                  ADDITIONAL INFORMATION                                                              SENTENCING
Gov't seeks detention                                                           Imprisonment:
                                                                                Probation:
                                                                                Supervised Release:
                                                                                Fine: $
                                                                                Restitution: $
                                                                                Special Assessment: $
                                                                                Plea Agreement Accepted:             Yes    No
                                                                                Defendant informed of right to appeal:         Yes    No
                                                                                Counsel informed of obligation to file appeal:  Yes   No


                  CUSTODY/RELEASE STATUS                                                    BOND AMOUNT AND TYPE

Remanded to USM                                                          $

CASE TO BE:            Set for Hearing before Mag. Judge                 TYPE OF HEARING: Arraignment/IPTC/Detention Hearing

Reporter/Recorder:           Digitally Recorded                         Courtroom Deputy:              D. Hand
